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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                       NEW ALBANY DIVISION

 IN RE:                                                     )        Chapter 11
                                                            )
 EASTERN LIVESTOCK CO., LLC, et al.,1                       )        Case No. 10-93904-BHL-11
                                                            )
                             Debtor.                        )        Hon. Basil H. Lorch III

             MOTION FOR EXPEDITED HEARING AND MOTION FOR RULE 2004
                                EXAMINATIONS

            James A. Knauer, Chapter 11 Trustee, by counsel, pursuant to Rule 2004(c) of the

 Federal Rules of Bankruptcy Procedure, respectfully moves the Court for an Expedited Hearing

 and Order providing for the examinations of eleven (11) current and former employees of Fifth

 Third Bank, N.A. (the “Deponents”) on the following grounds:

                                               I. JURISDICTION

            1.      This Court has jurisdiction of this proceeding under 28 U.S.C. §1334(a) and 157

 (b), and this matter is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A) and (O). Venue is

 proper in this district pursuant to 18 U.S.C. §1409(a).

            2.      The authority for the relief requested herein is Rule 2004 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”).

                                           II. FACTUAL BACKGROUND

            3.      Petitioning creditors commenced the above-captioned chapter 11 case ("Chapter

 11 Case") against Debtor on December 6, 2010 ("Petition Date") by filing an involuntary petition

 for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

 ("Bankruptcy Code"). This Court entered its Order For Relief In An Involuntary Case And

 Order To Complete Filing [Docket #110] on December 28, 2010.


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     The Debtor entities are Eastern Livestock Co., LLC and Okie Farms, L.L.C.
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        4.      On December 27, 2010, the Court entered its Order Approving The Appointment

 Of James A. Knauer As Chapter 11 Trustee [Docket #102] ("Trustee Order"), approving the

 United States Trustee's Notice Of Appointment And Application for Order Approving

 Appointment of Trustee [Docket #98] pursuant to 11 U.S.C. § 1104.

        5.      This Court, by order dated February 1, 2011 [Docket #248], approved the

 Trustee's retention of Hoover Hull as special counsel to investigate claims against Fifth Third.

 Such claims may relate to the property and liabilities of the Debtors, may affect the

 administration of the estate, the source of money or property needed to consummate a plan, and

 other matters relevant to this case. Accordingly, the Trustee’s investigation of claims against

 Fifth Third falls within the scope of Bankruptcy Rule 2004(b).

        6.      At a hearing on December 14, 2011, the Court instructed Special Counsel to

 provide the Court with a preliminary report on its investigation by March 13, 2012.

        7.      Pursuant to that charge, the undersigned counsel, by letter dated January 10, 2012,

 requested the availability of the following Fifth Third Bank employees for deposition:

                Anne Kelly, Relationship Manager for Eastern Livestock;
                Dave Fuller, Vice President, Structured Finance Group Team Lead, initial
                relationship manager for Eastern Livestock;
                Lori Hart, Operations Manager, Structured Finance Group;
                Timothy Spurlock, Investigator in the Bank Protection Department;
                Sean Kelly, Field Exam Department;
                Devon Morse, Investigator;
                Sara Chapman;
                Amber Whitehouse;
                Shannon Hughes;
                Patty Voss; and
                Darren Steinmann.

 A true and accurate copy of Special Counsel’s January 10, 2012 letter is attached hereto as

 Exhibit A. Special Counsel requested deposition dates during the weeks of January 30, 2012,

 and February 14, 2012. See Ex. A.

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         8.      Notwithstanding repeated calls requesting the witnesses’ availability during the

 week of January 30, Mr. Britt, counsel for Fifth Third stated on January 25, 2012, no witnesses

 were available the week of January 30.

         9.      On January 26, 2012, Mr. Britt, in a telephone conversation, stated that the

 following Fifth Third witnesses are available on the following dates:

                 Darren Steinmann, February 14, 2012;
                 Anne Kelly, February 14 or 15, 2012,
                 David Fuller, February 14 or 15, 2012,
                 Lori Hart, February 14 or 15, 2012;
                 Amber Whitehouse, the morning of February 22, 2012;
                 Timothy Spurlock, February 21 or 22, 2012; and
                 Shannon Hughes, February 21 or 22, 2012.


 Mr. Britt further stated he would confirm the availability of the remaining witnesses and provide

 those dates by letter.

         10.     In a call later that day regarding whether Vorys, Sater, Seymour and Pease LLP,

 (who is also counsel for Fifth Third) would accept service of a subpoena for Wayne Stoffel,

 Stoffel Consulting Services, Inc. and Agribusiness Consulting Group, LLC, (who conducted

 field audits of Eastern Livestock in May and October 2010), Messrs. Richardson and Britt,

 counsel for Fifth Third, raised, for the first time, whether the Trustee would notice the

 depositions of the Deponents in the bankruptcy case and also in each pending adversary

 proceeding. Since the Court requested a preliminary report by March 13, the undersigned

 counsel stated his initial reaction was to only notice the depositions of the Deponents in the

 bankruptcy case to avoid delaying the depositions.

         11.     On January 30, 2012, counsel for Fifth Third by e-mail asked the undersigned if

 the Trustee would notice the depositions in each adversary as well as the bankruptcy case.




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        12.     By letter dated February 1, 2012, the undersigned counsel again asked counsel for

 Fifth Third Bank to confirm the availability of the Fifth Third Bank employees for deposition. A

 true and accurate copy of Special Counsel’s February 1, 2012 letter is attached hereto as Exhibit

 B.

        13.     On February 2 and 3, the undersigned counsel left voicemails for Kent Britt and

 David Hine, counsel for Fifth Third requesting them to call him regarding the depositions. Had

 counsel for Fifth Third returned the calls from undersigned counsel, they would have learned that

 the Trustee had agreed to conduct the depositions in both the bankruptcy case and in each

 adversary proceeding as requested.

        14.     Fifth Third, without making any attempt to have a discovery conference required

 by S.D. Ind. L.R. 37.1 (made applicable hereto by S.D. Ind. B-9014), and contrary to the

 discovery protocols ordered in this case, filed a Motion to Limit Discovery or Alternatively, for

 Protective Order on February 3, 2012 (the “Discovery Motion”). In the Discovery Motion, Fifth

 Third seeks a protective order to have the depositions of the Deponents noticed in the bankruptcy

 case and each adversary proceeding. Fifth Third further seeks to limit the depositions of each

 witness by all attending counsel to one business day of seven hours, relief which was never

 informally requested prior to the Discovery Motion.

        15.     By letter dated February 6, 2012, Trustee counsel notified Fifth Third of its

 agreement with Fifth Third’s request to proceed with noticing the depositions in the bankruptcy

 and each of the adversary proceedings. A true and accurate copy of Special Counsel’s February

 6, 2012 letter is attached hereto as Exhibit C. The Trustee’s counsel further informed Fifth

 Third it would proceed with the following schedule to depose certain Fifth Third Bank

 employees in accordance with the bank’s proposed schedule:



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                Darren Steinmann, February 14, 2012;
                Anne Kelly, February 14 or 15, 2012,
                David Fuller, February 14 or 15, 2012,
                Lori Hart, February 14 or 15, 2012;
                Amber Whitehouse, the morning of February 22, 2012;
                Timothy Spurlock, February 21 or 22, 2012; and
                Shannon Hughes, February 21 or 22, 2012.

 Id. Undersigned counsel for the Trustee also stated his intention to formally notice the

 depositions of the remaining Deponents if Fifth Third did not provide convenient dates for their

 depositions by Wednesday, January 8, 1012. Id.

        16.     On February 7, Fifth Third, by counsel, offered to withdraw its Discovery Motion

 only if all parties to this bankruptcy proceeding will stipulate that Fifth Third’s witnesses will

 only be subjected to one seven (7) hour deposition of each witness by all counsel. A true and

 accurate copy of the February 7, 2012 e-mail from counsel for Fifth Third is attached hereto as

 Exhibit D. In response, the undersigned counsel replied:

        As stated, the Trustee has no objection to the depositions being noticed in the
        bankruptcy case and the adversary proceedings. However, we cannot agree to a
        limit of one deposition of seven hours. It is unreasonable to agree in advance to a
        seven hour time limit that restricts all parties and requires complete coordination
        among them for the limited time. As special counsel we would go first and make
        every effort to make the deposition efficient. I am certain that other counsel
        would agree to make similar representations. But as Dan and others have pointed
        out, it is premature to agree in the abstract that everyone will be able to complete
        all of their questions in seven hours. Moreover, we do not have a complete
        production of documents from Fifth Third. Finally, Fifth Third did not even raise
        this issue until you after informed us that its employees were unavailable the
        week of Jan. 31. We need to get these depositions scheduled so that we can
        complete our investigation.

 See Ex. D.

        17.     In the course of the February 7 call, Eric Richardson and Kent Britt, counsel for

 Fifth Third stated that Fifth Third will not produce any witnesses until the Court rules on its

 Discovery Motion. Counsel for Fifth Third refused to identify whether any of the Deponents are



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 available to be deposed the weeks of February 14, and 20, 2012, notwithstanding their prior

 representations on January 26, 2012.

                                        III. RELIEF REQUESTED

        18.     The Trustee requests the Court to enter an Order authorizing the Trustee to take

 the depositions of Fifth Third’s current and former employees as follows:

 Darren Steinmann                                    February 14, 2012
 Lori Hart                                           February 14 or 15, 2012
 Anne Kelly                                          February 14 or 15, 2012
 David Fuller                                        February 16, 2012
 Sean Kelly                                          February 17, 2012
 Timothy Spurlock                                    February 21 or 22, 2012
 Shannon Hughes                                      February 21 or 22, 2012
 Amber Whitehouse                                    February 22, 2012
 Devon Morse                                         February 23 or 24, 2012
 Patty Voss                                          February 24, 2012
 Sara Chapman                                        February 24, 2012

        WHEREFORE, the Trustee respectfully requests that the Court enter an Order

 authorizing the Rule 2004 examinations of the Deponents from day to day until completed and to

 direct that these depositions take place at the offices of Vorys Sater Seymour and Pease LLP,

 221 East Fourth St., Suite 2000, Atrium Two, Cincinnati, OH 45202 on the dates set forth above.




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                                               Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 7, 2012, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent to the following parties through the Court's
 Electronic Case Filing System. Parties may access this filing through the Court's system.

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